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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                        Plaintiff

v.                                  Case No.: 4:21−cr−00215−BRW

Christopher David Higgins                                                     Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Change of Plea Hearing has been set in this case for
March 16, 2022, at 02:30 PM before Judge Billy Roy Wilson in Little Rock Courtroom #
2A in the Richard Sheppard Arnold United States Courthouse located at 600 West Capitol
Avenue, Little Rock, Arkansas.



DATE: January 7, 2022                            AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                      By: Melanie M. Beard, Deputy Clerk




Electronic copy provided to:

U.S. Marshals Service, Eastern District of Arkansas
U.S. Probation Office, Eastern District of Arkansas
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